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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )       No. 4:17CR00319-JM-02
                                               )
NATHANIEL BURROUGHS                            )


            SUPPLEMENTAL MOTION TO REVOKE PRETRIAL RELEASE


       COMES NOW the United States of America, through Cody Hiland, United States Attorney

for the Eastern District of Arkansas, and Michael Gordon, Assistant U.S. Attorney for said district,

and moves this Court to revoke the pretrial release of the defendant, NATHANIEL

BURROUGHS. In support of this motion, the United States submits the following:

       1.      The defendant was released on pretrial supervision with conditions on December

15, 2017. His conditions of release included, inter alia, that he: (a) refrain from the use or unlawful

possession of a narcotic drug or other controlled substance defined in Title 21, United States Code,

Section 802, unless prescribed by a licensed medical practitioner; (b) participate in in-patient drug

treatment followed by chemical free living until his case is resolved. On January 10, 2018, the

defendant’s conditions were modified to include further drug treatment and testing for prohibited

substances if required by the pretrial services office or the supervising officer.

       2.      On April 6, 2018, the defendant failed to attend substance abuse treatment.

       3.      On June 21, 2018, the defendant was discharged from chemical free living at the

Recovery Centers of Arkansas (RCA) in Little Rock, Arkansas, as a program failure.

       4.      On June 21, 2018, the defendant submitted a urine specimen which tested and

confirmed positive for methamphetamine and amphetamine. This specimen was also confirmed as



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diluted by Alere Laboratories. The defendant later admitted that he had used methamphetamine

on June 20, 2018, and signed an admission form.

       5.        On June 28, 2018, the defendant submitted a urine specimen which tested and

confirmed positive for methamphetamine. This specimen was also confirmed as diluted by Alere

Laboratories. The defendant later admitted that he had used methamphetamine on June 26, 2018,

and signed an admission form.

       6.        On June 30, 2018, the defendant was discharged from chemical free living at

Turning Point Recovery Center in Little Rock, Arkansas, as a program failure.

       7.        On July 2, 2018, the defendant submitted a urine specimen which tested and

confirmed positive for methamphetamine.

       8.        On July 10, 2018, the defendant failed to report for substance abuse testing as

instructed.

       9.        The defendant appeared on July 17, 2018, for a hearing on the United States’

initial Motion to Revoke Pretrial Release. Prior to the hearing, the defendant provided a urine

specimen which tested positive for methamphetamine. The Court ordered that the defendant be

detained until he no longer tested positive. Thus, the defendant is currently in custody.



       WHEREFORE, the United States prays that the Court issue a summons and schedule a

hearing for the defendant to show cause why his pretrial supervision should not be revoked.




                      [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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                                                      Respectfully submitted,

                                                      CODY HILAND
                                                      United States Attorney

                                                  By /s/ Michael Gordon
                                                    MICHAEL GORDON
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                                       Certificate of Service

       I hereby certify that on July 17, 2018, I electronically filed the foregoing with the Clerk of
the Court using CM/ECF system, which shall send notification of such filing to the following:
Steven Davis.


                                                       /s/ Michael Gordon
                                                      MICHAEL GORDON




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